              Case 3:04-cr-00310-CRB          Document 86        Filed 07/13/06      Page 1 of 2



1    WILLIAM L. OSTERHOUDT, ESQ. (SBN 043021)
     DOLORES OSTERHOUDT, ESQ. (SBN 215537)
2    LAW OFFICE OF WILLIAM OSTERHOUDT
     135 Belvedere Street
3    San Francisco, CA 94117
     Telephone: 415-664-4600
4    Fax: 415-664-4691
5    Attorneys for Defendant
     SERGE IVANOV
6
7                                 UNITED STATES DISTRICT COURT
8                               NORTHERN DISTRICT OF CALIFORNIA
9                                      SAN FRANCISCO DIVISION
10   UNITED STATES OF AMERICA,                      )      No. CR 04 - 0310 CRB
                                                    )
11            Plaintiff,                            )      STIPULATION AND [PROPOSED]
                                                    )      ORDER CONTINUING
12       v.                                         )      SENTENCING HEARING
                                                    )
13   SERGE IVANOV, and                              )
     MICHAEL SOLOVEY,                               )
14     a/k/a Robert Stein                           )
                                                    )
15            Defendants.                           )
                                                    )
16
17
         IT IS HEREBY STIPULATED by and between the Government and defendants Michael Solovey
18
     and Serge Ivanov, by and through their attorneys of record, that the sentencing date in the above
19
     entitled matters should be continued from July 26, 2006 to August 2, 2006. The reason for this
20
     continuance is that Michael Nasatir, Esq., lead counsel for defendant Ivanov, will be unavailable on
21
     July 26, 2006, due to an unforeseen conflict with a matter pending before the United States District
22
     Court for the Central District of California. Under these circumstances, defendant Ivanov respectfully
23
     requests a one week continuance to August 2, 2006, so that Mr. Nasatir can appear on his behalf.
24
25
     IT IS SO STIPULATED.
26
27
28
     DATED: July 10, 2006
     No. CR 04 - 0310 CRB
     STIPULATION
             Case 3:04-cr-00310-CRB   Document 86        Filed 07/13/06          Page 2 of 2



1
2
                                                 /s/ Stacy P. Geis___________________
3                                                STACEY P. GEIS
                                                 Assistant United States Attorney
4
5                                                /s/ Ted Cassman___________________
                                                 TED CASSMAN, Esq.
6                                                Counsel for Michael Solovey
7
                                                 /s/ William L. Osterhoudt____________
8                                                WILLIAM L. OSTERHOUDT, Esq.
                                                 Local Counsel for Serge Ivanov
9
10
     IT IS SO ORDERED.
11
                                                                      ISTRIC
                                                                  ES D     TC
12   DATED:       July 12, 2006
                                                       TAT
                                                 __________________________________
                                                 HONORABLE CHARLES R. BREYER




                                                                                     O
                                                     S
                                                 United States District Court




                                                                                      U
13
                                                    ED




                                                                                       RT
                                                                           DERED
                                                UNIT


14                                                               O OR
                                                         IT IS S




                                                                                           R NIA
15

                                                                              . Breyer
                                                                      harles R
16
                                                NO




                                                              Judge C



                                                                                           FO
17
                                                 RT




                                                                                         LI
                                                         ER
                                                    H




18
                                                              N                      A C
                                                                  D IS T IC T     OF
19                                                                      R
20
21
22
23
24
25
26
27
28

     No. CR 04 - 0310 CRB
     STIPULATION                            2
